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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS,

                                Plaintiff,           Case No. 1:25-cv-00532-TNM

  v.                                                 Hon. Trevor N. McFadden

 TAYLOR BUDOWICH, in his official
 capacity as White House Deputy Chief of Staff;
 KAROLINE LEAVITT, in her official capacity
 as White House Press Secretary; and SUSAN
 WILES, in her official capacity as White House
 Chief of Staff,

                                Defendants.


           MOTION FOR LEAVE TO FILE BRIEF OF THE WHITE HOUSE
       CORRESPONDENTS’ ASSOCIATION AS AMICUS CURIAE IN SUPPORT OF
         PLAINTIFF THE ASSOCIATED PRESS’S MOTIONS FOR TEMPORARY
             RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Pursuant to Local Civil Rule 7(o)(1), proposed amicus curiae, the White House

Correspondents’ Association (the “WHCA”), respectfully moves this Court for leave to file the

attached amicus curiae brief in support of Plaintiff The Associated Press’s Motions for Temporary

Restraining Order and Preliminary Injunction (ECF Nos. 2, 3). The proposed brief is attached to

this Motion.

        1.     This Court “has broad discretion to permit . . . participat[ion] [of] amici curiae,”

and amicus participation is appropriate where amici have “relevant expertise and a stated concern

for the issues at stake in [the] case.” Dist. of Columbia v. Potomac Elec. Power Co., 826 F. Supp.

2d 227, 237 (D.D.C. 2011).

        2.     This Court has recognized that “[a]n amicus brief should normally be allowed when

. . . the amicus has unique information or perspective that can help the court beyond the help that
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the lawyers for the parties are able to provide.’” Mashpee Wampanoag Tribe v. Bernhardt, 2020

WL 2615523, at *1 (D.D.C. May 22, 2020) (quoting Ryan v. Commodity Futures Trading

Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)); see also Jin v. Ministry of State Sec., 557 F. Supp.

2d 131, 137 (D.D.C. 2008) (same).

       3.      The WHCA is a nonpartisan 501(c)(3) association, and the audiences its

membership serves hold views across the political spectrum. The WHCA is composed of White

House correspondents and editors from nearly 300 news organizations, including The Associated

Press (“AP”), Fox News, The Washington Post, The Wall Street Journal, CNN, ABC, Newsmax,

and others. The WHCA’s purposes include providing a forum for those journalists who cover the

White House; promoting friendly relations and the exchange of ideas among its members; and

educating the public about the field of journalism, in general, and the process of reporting about

the White House. The WHCA also maintains responsibilities associated with coordinating the

White House press pool, of which the AP is a member and from which the AP has been effectively

excluded since the White House imposed its restrictions against the AP on February 11, 2025. See

Compl. (ECF No. 1) ¶ 5, 32 (alleging press pool exclusion).

       4.      This brief is intended to highlight the serious consequences for news organizations

who are not before the Court and the American public if the government is permitted to exclude

journalists from their White House press pool duties based on the editorial choices of their

employers. The proposed amicus brief describes the operation of the White House press corps and

its role in informing the nation and the world about the American presidency, and it puts into

context the chilling effect that the viewpoint discrimination at issue would have on the free press

and its impact, ultimately, on America’s democracy.




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Dated: February 23, 2025            Respectfully submitted,

                                    /s/ Simon A. Latcovich
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                                    Correspondents’ Association




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2025, I electronically filed the foregoing Motion for

Leave To File Brief of the White House Correspondents’ Association as Amicus Curiae in Support

of Plaintiff The Associated Press’s Motions for Temporary Restraining Order and Preliminary

Injunction with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to registered CM/ECF participants.



                                                       /s/ Simon A. Latcovich
                                                       Counsel for Amicus Curiae White House
                                                       Correspondents’ Association
